     Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 1 of 37



                                                             On behalf of the Claimant
                                                              First Witness Statement
                                                               Exhibits HTl and HT2
                                                                        29th June 2020

IN THE HIGH COURT OF JUSTICE                             Claim No. QB-2020-002218


QUEEN'S BENCH DIVISION
BETWEEN:
                     STOKOE PARTNERSHIP SOLICITORS
                                                                             Claimant
                                        - and-

                               (1) PAUL ROBINSON
                        (2) COMPANY DOCUMENTS LTD
                                 (3) OLIVER MOON
                                                                           Defendants



          WITNESS STATEMENT OF HARALAMBOS TSIATTALOU



I, HARALAMBOS TSIATTALOU, of Stokoe Partnership Solicitors, Chancery
House, 53/64 Chancery Lane, London, WC2A lQU, WILL SAY as follows:

1.      I am a Solicitor of the Senior Courts of England and Wales and a partner in
        the law firm of Stokoe Partnership Solicitors. I am duly authorised to make
        this statement on behalf of the Claimant in support of its applications for an
        interim injunction restraining the First and Second Defendants from actual or
        threatened breaches of confidence and related disclosure orders; and Norwich
        Pharmacal disclosure orders from the First, Second and Third Defendants.

2.      The facts and matters set out in this witness statement are either derived from
        my own knowledge or have been supplied to me by others. In particular, my
        knowledge as to the Defendants' attempts to access the Claimant's
        confidential information was originally provided to me by Mr Alexander
        Sawyer of Quaestio Intelligence Services Ltd ("Quaestio"), who are enquiry
        agents acting for the Claimant. Where I refer to facts and matters below that


                                           1
     Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 2 of 37



        are within my own knowledge they are true. Where I refer to information
        supplied to me by others, its source is identified and it is true to the best of my
        knowledge and belief.

3.      Where in this statement I refer to the existence of legal advice, or to
        communications with third parties for the dominant purpose of these or other
        proceedings, this should not be regarded as a waiver of privilege either by the
        Claimant, or by any other individuals upon whose behalf the Claimant has
        been instructed.

4.                         .
        There is now oroduced and shown to me., marked "HT-1 "., an exhibit
        containing true copies of paginated documents to which I will refer in this
         statement. References below to page numbers are to the contents of that
         exhibit.

5.       There is also now produced and shown to me, marked "HT-2", an exhibit
         containing true copies of confidential documents to which I will refer in this
         statement. The present proceedings are intended to protect the confidentiality
         of these documents. Nothing in this statement should be taken as waiving
         confidentiality in this exhibit and the Court is requested to order that there be
         no access to those documents by third parties without permission from a High
         Court Judge.

6.       This witness statement has been prepared with the use of remote video
         conferencing software.     It has been prepared on the basis of my own
         knowledge and records of the relevant events, a report produced by Quaestio
         at the Claimant's request, follow-up exchanges I have had with Mr Sawyer of
         Quaestio, and the assistance of counsel.


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7.       In these proceedings, the Claimant applies for an injunction, disclosure orders
         and/or Norwich Pharmacal relief in relation to attempts by the First and/or
         Second Defendants to obtain confidential information from the Claimant. The
         application is made following instructions by the First and/or Second
         Defendants to obtain information, including confidential information relating


                                             2
     Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 3 of 37



         to the Claimant's bank accounts, relating to the Claimant's conduct of High
         Court proceedings brought by its client, Mr Karam Al Sadeq against the law
         firm Dechert LLP and three of its current or former partners: Mr Neil Gerrard,
         Mr David Hughes, and Ms Caroline Black in Claim No. QB-2020-000322
         (the "Al Sadeq Litigation"). The attempts have come to light as the result of a
         'whistle-blower' as I explain below.

8.       As explained further below, evidence has recently come to light that the
         Defendants have obtained, or have attempted to obtain, confidential
         information relating to the Al Sadeq Litigation. This information has been
         sought by the First and/or Second Defendants from a number of different
         targets, including but not limited to the Claimant. So far as the Claimant is
         concerned, the information sought by the First and/or Second Defendants
         includes banking records of the Claimant and details of my movements to and
        from the United Arab Emirates ("UAE") to take instructions from Mr Al
         Sadeq.

9.      So far as others are concerned, the information includes banking and
        telephone records from "Maltin PR", a legal public relations and litigation
        support firm, and from Radha Stirling who works for the London-based
        advocacy association "Detained in Dubai". Both of these organisations are
        assisting Mr Al Sadeq. It also appears that the First and/or Second Defendants
        have, in the past, attempted to obtain confidential information relating to the
        international law firm Hogan Lovells International LLP ("Hogan Lovells"). I
        have not contacted either Radha Stirling or Hogan Lovells directly.

10.     I say at the outset that I consider the attempts to access the Claimant's
        confidential information in connection with the Al Sadeq Litigation to be
        completely unacceptable and offensive to the interests of justice. Mr Al Sadeq
        brings his High Court litigation from a prison cell in the UAE and is only
        allowed limited contact with the Claimant. He is doing so to vindicate his
        rights in relation to serious allegations of human rights abuses, including his
        unlawful detention, his unlawful interrogation, and the imposition by the
        defendants in those proceedings of illegitimate pressure to obtain false
        confessions from Mr Al Sadeq. Mr Al Sadeq has a legal right to instruct the


                                           3
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 4 of 37



      Claimant in connection with that litigation and the Claimant must be able to
      conduct that litigation consistent with the interests of justice and without
      having to investigate and fend off attempts by third parties to access its
      confidential information.

11.   At this stage, the Claimant does not know the full extent of the attempts to
      obtain confidential information, although, as explained below, there are a
      number of inferences which may reasonably be drawn from the background
      facts. The relief sought by the Claimant therefore includes orders requiring the
      Defendants to disclose what information has been obtained, by whom and for
      whom it has been sought, and to whom it has been provided. These orders are
      necessary so that the Claimant may obtain targeted relief against the relevant
      individuals.

12.   The Defendants to this action are persons who, in one way or another, are
      involved in the field of corporate intelligence (in broad terms). They are,
      therefore, unlikely to have been the ultimate instigators of the attempts to
      access confidential information and will likely be acting on behalf of others.
      Whilst I am not in a position to identify those persons at this time, the attempts
      to access the Claimant's confidential information coincided with my firm's
      involvement in the Al Sadeq Litigation. I believe the evidence supports a
      strong inference that the Defendants' ultimate clients are one or more of the
      defendants in the Al Sadeq Litigation or persons otherwise connected to those
      proceedings.

13.   The requests for information which concern the Claimant all appear in some
      way to relate to the Al Sadeq Litigation.        Likewise, the timing of those
      requests corresponds to certain events in the Al Sadeq Litigation.             In
      particular, on the basis of the evidence that is currently available, it is my
      belief that the Defendants' attempts to obtain confidential banking information
      from the Claimant are likely to have been motivated, at least in part, by a
      desire to discover how Mr Al Sadeq is funding his litigation.

14.   I also believe that the First and/or Second Defendants' attempts to access the
      Claimant's confidential information have taken place against a background of



                                          4
      Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 5 of 37



          attempts by others to arrange surveillance of Mr Al Sadeq's UK legal team
          whilst in the UAE.      In particular, following the issue of proceedings in
          January 2020, I believe that I was the subject of various surveillance activities
         in Dubai in February and March 2020, including an apparent break-in to my
         hotel room, the presence of surveillance agents at my hotel (where I attended
         privileged meetings in relation to the conduct of the Al Sadeq Litigation), and
         an attempt to follow me to a privileged meeting at a different location. I
         believe these matters were also connected to the Al Sadeq litigation and that
         they were intended to disrupt the Claimant's ability to obtain instructions (as
         they in fact did). I should make it clear, however, that the Claimant does not
         assert that the Defendants themselves were responsible for those acts of
         surveillance.

15.      The Defendants' attempts to obtain confidential information from my firm
         first came to my attention as a result of an approach by the Third Defendant as
         a whistle-blower. I am informed by Mr Sawyer of Quaestio that the First
         and/or Second Defendants have instructed an individual whose identity I am
         not aware of but to whom I refer herein as "Source A2" to attempt to obtain
         confidential information. I also understand that, in tum, Source A2 enlisted
         help of the Third Defendant.

16.      Since the end of March 2020, the Third Defendant has provided certain
         information and assistance to the Claimant and Quaestio to enable them to
         track the location of other persons who have sought and accessed confidential
         information.    These investigations have produced evidence that the First
         Defendant has indeed accessed the confidential documents using computers
         with public IP addresses close to both the First Defendant's residential
         property in West Sussex as well as the offices of the Second Defendant
         company, of which the First Defendant is a director.

17.      I should also say at the outset that I understand that Mr Sawyer of Quaestio is
         aware of the identity of Source A2, but not his residential location or address
         for service. Mr Sawyer has declined to provide this information to me or the
         Claimant. The reason given by Mr Sawyer for not doing so is that he knows




                                             5
     Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 6 of 37



        that Source A2 has suffered with ill health recently and that, at this juncture,
        he is not prepared to divulge his name.

18.     In light of these events, the Claimant considers that they have causes of action
        against the First and/or Second Defendants for, amongst other things, breach
        of confidence and/or are entitled to injunctive relief on a quia timet basis. The
        Claimant may also have other causes of action against the Defendants or other
        parties implicated in the relevant events, although unless disclosure orders are
        made the Claimant is not presently able to identify all of its causes of action.
        In any event, I believe that unless restrained the First and Second Defendants,
        or those directing them, are likely to take further steps with a view to
        obtaining confidential information.

19.     The Claimant therefore applies for an interim injunction to prevent the First or
        Second Defendants taking any further steps to access confidential information.
        It also applies for disclosure orders to discover the full extent of the
        confidential information obtained so far and to identify the Defendants'
        ultimate clients to obtain further relief against those persons.

20.     In the alternative, if the Court were to consider that the Claimant's breach of
        confidence claims have not yet been established to the necessary standard
        based on the available evidence, the Claimant applies for disclosure orders
        pursuant to the Norwich Pharmacal principle to identify the ultimate
        wrongdoers. I believe there is compelling evidence that the Defendants are, at
        the very least, more than mere bystanders and are directly involved in that
        wrongdoing.


B.      THE PARTIES


        The C!aima-nt

21.     The Ciaimant is a firm of solicitors with offices in Central and East London
        and Manchester. It specialises in criminal defence work, civil litigation and
        arbitration, with a particular focus on cases involving allegations of fraud and
        complex crime. The Claimant is instructed to act on behalf of Mr Karam Al
        Sadeq in the Al Sadeq Litigation as described in Section C below.



                                              6
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 7 of 37



(2)   The Defendants

22.   The First Defendant, Mr Paul Robinson, is resident in Haywards Heath, West
      Sussex.      According to information obtained from Companies House, Mr
      Robinson is a director and 50% shareholder of the Second Defendant, an
      English company whose principal activity is stated to be 'corporate research'
      [HTl/10).

23.   I am informed by Quaestio that the First Defendant has used the encrypted
      email address 'duedilligence@hushmail.com' to give instructions to Source
      A2 to access the Claimant's confidential information. Quaestio has been told
      this by the Third Defendant. I am also informed that IP address evidence
      suggests that the First Defendant has received and accessed such information.
      These events are described at Sections (6), D(7) and D(8) below.

24.   The Second Defendant, Company Documents Ltd, is a company of which the
      First Defendant is a director and 50% shareholder. I understand from Quaestio
      that one of the confidential documents sought and obtained by Mr Robinson
      was accessed by an IP address close to offices used by Company Documents
      Ltd, at 28a Church Road, Burgess Hill, RH15 9AE.

25.   The Third Defendant is a private investigator and is resident in Copthome,
      West Sussex.      I understand from Mr Sawyer of Quaestio that the Third
      Defendant had previously been instructed by Quaestio when undertaking
      investigations on behalf of the Claimant. I was unaware of this fact, or indeed
      of the Third Defendant's identity, until shortly before this action.     I also
      understand from Mr Sawyer that the Third Defendant is the 'whistle-blower'
      who, in March 2020, first alerted Quaestio to attempts by the Defendants' to
      gain access to the Claimant's confidential information. The Third Defendant
      is referred to as "Source Al" in the Quaestio Report to which I refer in this
      statement.




                                         7
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 8 of 37



C.    THE 'AL SADEQ' LITIGATION

(1)   Mr Al Sadeg

26.   Mr Karim Al Sadeq is a lawyer and Jordanian citizen who is a resident of the
      UAE. For the past six years, Mr Al Sadeq has been incarcerated in Ras Al
      Khaimah ("RAK"), one of the constituent Emirates of the UAE, having been
      detained in September 2014 for his alleged involvement in fraudulent
      transactions committed against his former employer, the Ras Al Khaimah
      Investment Authority ("RAKIA").

27.   Mr Al Sadeq denies any involvement in wrongdoing and contends that he has
      been wrongfully convicted in the UAE on the basis of false confessions
      obtained under duress.      Since October 2019, the Claimant has legally
      represented Mr Al Sadeq in a legal action before the High Court of Justice in
      London, which I describe below.

(2)   Mr Al Sadeg's High Court Proceedings

28.   On 28 January 2020, Mr Al Sadeq commenced the Al Sadeq Litigation. In
      those proceedings, Mr Al Sadeq brings claims against the law firm Dechert
      LLP and three of its current or former partners: Mr Neil Gerrard, Mr David
      Hughes, and Ms Caroline Black. Mr Al Sadeq claims that those defendants
      committed various wrongs to him in breach of UAE civil and criminal law
      whilst conducting a purported investigation on behalf of RAKIA, RAK or its
      Ruler.

29.   The nature of the allegations in the Al Sadeq Litigation can be seen from
      paragraph 9 of the Particulars of Claim in those proceedings [HTl/27-28]. In
      outline, Mr Al Sadeq's claims include allegations that the defendants were
      implicated in:

      29.1.    The kidnap and extraordinary rendition of Mr Al Sadeq from Dubai to
               RAK (see paragraphs 40 to 47 of the Particulars of Claim).

      29.2.    Mr Al Sadeq's unlawful detention without arrest or change, including a
               period of detention in solitary confinement, under a false name, with



                                          8
      Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 9 of 37



                 no access to legal representation (see paragraphs 105 to 109 of the
                 Particulars of Claim).

         29.3.   The interrogation of Mr Al Sadeq.         In particular, Mr Al Sadeq
                 contends that during the first of his interrogations by Mr Gerrard, he
                 was blindfolded with his hands tied behind his back and had no lawyer
                 present (see paragraph 64 of the Particulars of Claim).

         29.4.   Threats and unlawful pressure made to Mr Al Sadeq, his wife, and
                 children, including a promise by Mr Gerrard and Ms Black that Mr Al
                 Sadeq's prison conditions could be improved if he "cooperated" with
                 them (see, paragraphs 65 to 67, 89 to 98, and 120 to 130 of the
                 Particulars of Claim).

         29.5.   The procurement of false confessions signed by Mr Al Sadeq, but
                 drafted by Mr Gerrard and Mr Hughes, in circumstances where Mr Al
                 Sadeq was detained in the above conditions, did not have access to
                 legal representation, and had made it clear that the confessions were
                 untrue (see, paragraphs 183 to 184 of the Particulars of Claim).

30.      The Al Sadeq Litigation has generated a significant amount of publicity, due
         to the serious nature of the allegations. I refer, for example, to two recent
         articles that are exhibited at [HTl/90] and [HTl/92].

(3)      The Claimant's involvement in the Al Sadeg Litigation

31.      The Claimant was first instructed to act in the Al Sadeq Litigation in October
         2019. Since that time, there has been a correlation between the progress of the
         Al Sadeq Litigation and the Defendants' attempts to obtain confidential
         information from the Claimant and others in relation to those proceedings.

32.      The Claim Form in the Al Sadeq Litigation was issued on 28 January 2020
         [HTl/21].    Although it was not served at that time, the allegations were
         publicised in a press release published by Detained in Dubai on the date of
         issue [HTl/98].    The Claim Form, which was made available online, was
         much more detailed than the amend~d version ultimately served with the
         Particulars of Claim [HTl/23], and contained details of Mr Al Sadeq's claim


                                             9
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 10 of 37



      and the nature of the allegations made against the Defendants. It also, of
      course, stated that the Claimant was acting for Mr Al Sadeq.

33.   Mr Al Sadeq's Amended Claim Form and Particulars of Claim were served on
      31 March and 1 April 2020. As set out at paragraph 215 of the Particulars of
      Claim, my firm's ability to take instructions from Mr Al Sadeq has been
      impeded in various ways since the Al Sadeq Litigation was issued [HTl/172].

34.   Between February and March 2020, I travelled to Dubai with other members
      of Mr Al Sadeq's UK legal team to meet with Dr Al Haddad, Mr Al Sadeq's
      local co1.u1sel, a.'1d to meet with :Mr Al Sadeq in prison.      We were not,
      however, permitted to visit Mr Al Sadeq on those occasions. During these
      trips, my colleagues and I were the subject of surveillance activities which I
      describe at Section E below.

35.   By a letter dated 16 April 2020, the solicitors acting for the defendants in the
      Al Sadeq Litigation wrote to the Claimant to ask about Mr Al Sadeq' s funding
      arrangements for the litigation [HTl/102]. In particular, they requested:

             "9.     Please confirm whether the Claimant is funding his claim or
                     whether ii is being funded by a third party/parties. In this
                     regard, please identify the third party/third parties and the
                     arrangements in place.

             10.     We note that, if the Claimant is being funded, this may provide
                     the basis for a security for costs application... We note the
                     commentary in The White Book §25.14. 6 which makes it clear
                     that the court also has an implied power to order disclosure of
                     details of third party funders."

36.   I now understand from Mr Sawyer that, shortly before this letter was sent, the
      Third Defendant had received instructions to obtain confidential banking
      information from the Claimant in early April 2020. In the event, the Claimant
      responded on behalf of Mr Al Sadeq by a letter dated 22 May 2020, in which
      it confirmed that Mr Al Sadeq was prepared to provide the sum of £232,833
      by way of security for costs up to 30 June 2020 [HTl/105]. As security was
      being provided, Mr Al Sadeq declined to answer the questions raised by the
      defendants' solicitors [HTl/104].




                                          10
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 11 of 37



37.   As at the date of this statement, the defendants in the Al Sadeq Litigation have
      yet to file a Defence. Mr Al Sadeq has already agreed various extensions of
      time, such that the current date for service of a Defence is 30 June 2020.
      Since then, however, the defendants have applied for additional time until 31
      July 2020.

(4)   The 'Azima' Litigation

38.   I should also briefly mention a piece of related litigation in Ras Al Khaimah
      Investment Authority v Azima, in which judgment was recently handed down
      by Andrew Lenon QC on 22 May 2020 [2020] EWHC 1327 (Ch) [HTl/107].
      I will refer to those proceedings as the "Azima Litigation".

39.   The Azima Litigation concerned claims brought by RAKIA against Mr Farhad
      Azima, a US businessman involved in the aviation industry who had been
      party to a number of business ventures with RAKIA and other RAK entities
      between 2007 and 2016.

40.   As recorded at paragraphs 2 and 30 of the judgment in the Azima Litigation,
      part of the factual background to that case involved an investigation conducted
      by RAKIA from around late 2014 into RAKIA's former Chief Executive
      Officer, Dr Massaad. This background overlaps with the investigations that
      are in issue in the Al Sadeq Litigation. In particular, the question of whether
      human rights abuses had been committed against Mr Al Sadeq also became an
      issue in the Azima Litigation (see, paragraphs 201 and 202 of the judgment).

41.   In the course of the Azima Litigation, it became clear that in January 2015 the
      Ruler of RAK had engaged a private investigator, Mr Stuart Page, to
      investigate the activities of Dr Massaad (see, paragraph 31 of the judgment).
      So far as I am aware, Mr Page has a strong presence in Dubai and also has
      connections to companies incorporated in the UK.

42.   On 6 March 2020 I personally witnessed Mr Page whilst staying at the 'One
      and Only on the Palm' Hotel in Dubai. I believe that this encounter was
      connected to acts of surveillance that I describe at Section E(2) below.




                                         11
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 12 of 37



43.    RAKIA's position in the Azima Litigation was that the allegations about Mr
       Al Sadeq's mistreatment were untrue (see, paragraph 29 of the judgment). On
       this issue, the learned Judge found, at paragraph 202 of the judgment, that:

              "In order to make good its case that Mr Azima procured and promoted
              false stories in the media, it was incumbent on RAKIA to establish that
              the stories which it was intended to publish about human rights
              violations were untrue. It has not done so. It appears that Project Clay
              intended to draw attention to actual cases of detention and illegality,
              not fabricated cases. The 2014 Amnesty International Report indicates
              that there were real grounds for concern about detention procedures in
              RAK. None of RAKIA's witnesses were in a position to refute the
              findings in that report".

44.    A further issue that arose in the Azima Litigation was whether RAKIA's case
       against Mr Azima was based on evidence obtained as a result of hacking Mr
       Azima's email account, including by the device of a 'spear-phishing' email
       (see, for instance, paragraphs 35-36 and 251 of the judgment). In particular,
       Mr Azima invited the Court to find that RAKIA was responsible for that
       hacking, and that RAKIA's claim should therefore be struck out as an abuse of
       process (see, paragraphs 251 to 255 of the judgment).

45 .   The Judge did not accept Mr Azima's submission that RAKIA was
       responsible for the hacking of his emails. Nor did the Judge make any finding
       of wrongdoing on the part of Mr Page, although he did make findings as to the
       world in which Mr Page operated. I draw the Court's attention to the findings
       made at paragraphs 251, 260, 265, 269 to 271, 348 to 349, 355, 368 to 369,
       and 380 of the judgment.

46.    In particular, I note the learned Judge found that "These cases highlight the
       fact that Mr Page operates in a world of covert surveillance in which agents
       acquire confidential iriformation unlawfully and that Mr Page has dealings
       with such agents. it would be a reasonable inference to draw from these
       incidents that Mr Page has access to agents with the capacity to hack emails ...
       these other incidents do not establish that Mr Page ever personally carried
       out or authorised the unlawful obtaining of confidential information and
       therefore do not affect my assessment of the likelihood of Mr Page acting
       unlawfully in this case" (at paragraph 369 of the judgment).



                                          12
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 13 of 37



47.   I briefly refer at Section F below to phishing emails that I have personally
      received and continue to receive since the Claimant was instructed in the Al
      Sadeq proceedings.


D.    THE DEFENDANTS' ATTEMPTS TO ACCESS CONFIDENTIAL INFORMATION


(1)   The Ouaestio Report

48.   My account below of the Defendants' attempts to obtain confidential
      information is based on a report produced by Quaestio dated 27 June 2020, my
      own personal involvement in the relevant events and my subsequent
      exchanges and discussions with Mr Sawyer. A copy of Quaestio's report is
      exhibited at [HT2/41].

49.   The Quaestio report was produced following an approach by the Third
      Defendant to Mr Sawyer as a whistle-blower. In particular Mr Sawyer has
      informed me that, on 27 March 2020, he was contacted by the Third
      Defendant who told him that he wanted to discuss a 'job' he was involved in.
      I understand that the Third Defendant approached Mr Sawyer because the new
      'job' related to the Claimant and the Third Defendant had previously worked
      on behalf of former clients of the Claimant, although I was not aware of this at
      the time. Mr Sawyer also informed me that the Third Defendant was not
      aware of the full background to the requests involving the Claimant and that
      he has only ever received instructions from Source A2. The Third Defendant
      also mentioned to Mr Sawyer that he had received an earlier request to obtain
      confidential banking records from Maltin PR and others. So far as I am aware,
      Source A2 does not know that the Claimant is aware of his involvement in
      these events.

50.   After this discussion, I agreed with Mr Sawyer that Quaestio should work with
      the Third Defendant to assist us in tracking the individuals standing behind
      Source A2 who were trying to access the Claimant's confidential information.
      The detail of these matters is set out below. Prior to 27 March 2020, however,
      neither the Claimant nor Quaestio were aware of any activities by the
      Defendants to access confidential information.




                                         13
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 14 of 37



51.   The account I set out below is the best evidence that the Claimant currently
      has with regard to the attempts to access their confidential information. It is,
      however, quite possible that it does not represent the full picture. This could
      be either because the Third Defendant has not yet disclosed the entirety of his
      involvement to Quaestio, or because there are matters about which the Third
      Defendant is unaware.      At the date this statement is signed, the Third
      Defendant has refused to provide information to the Claimant on oath.

(2)   Encrypted Communications

52.   According to Mr Sawyer, the Third Defendant has explained that most of his
      communications with Source A2 were conducted via an encrypted messaging
      application called "Threema" or via encrypted emails. I also understand that
      the same is true of the communications between Source A2 and Mr Robinson.

53.   In particular, Mr Sawyer has explained to me that emails were sent using the
      encrypted email address: "fairydust1998@protonmail.ch". This account was
      set up for the Third Defendant and Source A2 and both had access to it,
      although I am told that it was only Source A2 who ever sent messages from it.
      Whenever the Third Defendant received information, he would save it as a
      draft email so that it was available on the account. I will refer to this email
      address as the "Fairy Dust Account".

54.   In tum, emails were sent by Source A2 from the Fairy Dust Account to Mr
      Robinson, who used the email address: "duediligence@hushmail.com". This
      email account is also encrypted. I will refer to this email address as the "Hush
      Mail Account".

(3)   Instructions to access Radha Stirling information

55.   Radha Stirling is the founder and CEO of an organisation called "Detained in
      Dubai". According to its website, Detained in Dubai was founded by Radha
      Stirling in 2008 as an advocacy group to assist foreign victims of injustice in
      the UAE and the Gulf States [HTl/232]. Radha Stirling and Detained in
      Dubai have published articles about the Al Sadeq Litigation and have assisted
      Mr Al Sadeq at various times to raise the awareness of his case among human
      rights activists and non-governmental organisations.


                                         14
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 15 of 37



56.   I understand from Mr Sawyer that the Third Defendant has explained to him
      that, since July 2019, Source A2 has asked the Third Defendant to obtain
      confidential information about persons connected with the Al Sadeq
      Litigation. In tum, I am informed by Quaestio that the Third Defendant has
      stated that Source A2's instructions originated from Mr Robinson.

57.   Among other things, between October 2019 and December 2019 Source A2
      was asked to obtain information about Radha Stirling's whereabouts, her
      telephone numbers, and banking information.        So far as I am aware, no
      information was sent back to Mr Robinson.

(4)   Instructions to access Maltin PR banking and telephone information

58.   Mr Sawyer informs me that, in February 2020, Mr Robinson requested Source
      A2 to obtain financial records and monthly transactional data from Maltin
      PR's bank account. Source A2 in tum involved the Third Defendant in these
      activities.   I understand that the Third Defendant and Source A2 were
      subsequently able to obtain such information and that Source A2 delivered this
      by email to Mr Robinson for onward transmission to an unknown person. I
      refer the Court the Quaestio Report at [HT2/48].

59.   I am also informed that Mr Robinson requested Mr Tim Maltin's mobile
      phone records. I understand, however, that it was not possible for the Third
      Defendant or Source A2 to access these.

60.   On 8 March 2020 a request was made by Mr Robinson for specific
      transactional information relating to the Maltin PR account.     The specific
      transactions related to payments in relation to Radha Stirling and Mr Azima.
      The communication also requested that banking co-ordinates be identified for
      these two individuals.   I am informed that this request was, once again,
      forwarded to the Third Defendant. I am also informed by Quaestio that no
      information was provided by the Third Defendant in relation to these specific
      requests.

61.   On 11 March 2020 Mr Robinson sent a further request via Threema that the
      Maltin PR bank account be accessed in relation to transactions pertaining to



                                        15
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 16 of 37



      Hogan Lovells and that banking co-ordinates for this firm of solicitors be
      provided. I also understand from Quaestio that on 6 April 2020 Source A2
      instructed the Third Defendant to investigate Hogan Lovells and 'pull' three
      months of corporate banking records. As I explain below, the 11 March 2020
      request was subsequently used as an opportunity for Quaestio to use a tracking
      device to trace the public IP addresses of persons sending and receiving the
      requested information.                           I am informed that the specific confidential
      information sought in these particular requests was not provided by the Third
      Defendant.

(5)   Instructions to access the Claimant's banking information

62.   Quaestio informs me that, on 2 April 2020, Mr Robinson requested Source A2
      to obtain the Claimant's banking co-ordinates.                          I refer in particular the
      Quaestio Report at [IIT2/53]. The timing of this request was shortly before
      certain questions asked by the solicitors for the defendants in the Ai Sadeq
      Litigation as to how Mr Al Sadeq was funding those proceedings. The request
      was also made at around the same time that Mr Al Sadeq's Amended Claim
      Form and Particulars of Claim were served on 31 March and 1 April 2020
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      l.._ ... ..a. ,_,..;J,                  r,£] .
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63.   Mr Sawyer later informed me that this request had been made. As a response,
      I agreed that Quaestio should carry out a tracing exercise to track the persons
      giving and receiving the information, with the aim of identifying the persons
      who were ultimately requesting it.                         The process involved transcribing the
      Claimant's bank account information into a document format that would be
      recognisable to Mr Robinson, but into which a covert tracking facility could
      be inserted to track the public IP addresses of persons accessing the
      information.

64.   I understand from my discussions with Mr Sawyer of Quaestio that this
      tracking process was undertaken as follows.

65.   First, I took a genuine bank statement for the Claimant's Manchester office
      bank account and provided it to Quaestio. This bank account is used by the
      Claimant fOi ev"ei)lday business tiansactions and not client money. \ 1/e chose



                                                            16
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 17 of 37



      this account as it contained fewer transactions and would likely lead to a
      further request for the London office account.

66.   The information from the bank statement was transcribed into a format that
      Quaestio considered would be recognisable as a transcribed bank statement. I
      understand from Mr Sawyer that client reference numbers were removed. The
      copy of this document exhibited to this statement has been partially redacted
      and has been placed in a confidential exhibit.

67.   A geolocation tracing device was then inserted into the document by
      Quaestio's cyber security specialists. This device enabled Quaestio to trace the
      location of the public internet protocol ("IP") address for any computer that
      accessed the document whilst connected to the internet. The end result was a
      document which I refer to as the "Stokoe Manchester Office Account
      Document" [HT2/2]. This was provided to the Third Defendant, who in tum
      provided it to Source A2 as an attachment to a draft email message in the
      Fairy Dust Account.

68.   On 8 April 2020, the Stokoe Manchester Office Account Document was sent
      to Mr Robinson by Source A2 from the Fairy Dust Account to the Hush Mail
      Account. I refer the Court to the Quaestio Report at [HT2/54] which contains
      an image of that email within the Fairy Dust Account.         The document is
      visible in that image with the attachment name "The Stokoe Partnership -
      March 2020".

(6)   IP Address Tracing #1: Stokoe banking information

69.   The Quaestio Report includes a table setting out the information obtained from
      the tracing exercise conducted in relation to the Stokoe Manchester Office
      Account Document. I refer the Court in particular to that report at [HT2/56].
      It appears that the Stokoe Manchester Office Account Document was accessed
      on a different computer at 17:38 on 8 April 2020 using the IP address
      86.152.6.157 ("Reader 1"). It was then accessed again by Reader 1 at 20:13
      on 8 April 2020 using the same IP address.        A second user accessed the
      document twice at 11:51 and 12:05 on 9 April 2020 from a computer with IP
      address 31.48.65.176 ("Reader 2").


                                         17
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 18 of 37



70.   I am informed by Mr Sawyer that the IP address used by Reader 1 is that of
      Source A2.     Quaestio know this because they are aware of Source A2's
      identity and because the Third Defendant has stated this from his knowledge
      of Source A2' s residential address.

71.   Quaestio then carried out searches to identify the geolocation of the IP address
      from which Reader 2 accessed the Stokoe Manchester Office Account
      Document. I refer the Court in particular to page the Quaestio Report at
      [HT2/58]. It was revealed that the document had been opened in the Burgess
      Hill area of West Sussex, with post code RH15. The IP address is located
      approximately 482 metres from 28a Church Road, Burgess Hill, RH15 9AE,
      which is an office used by the Second Defendant.

72.   I should make it clear that Mr Sawyer has informed me that it is not possible
      to obtain the precise location of an individual computer that has accessed the
      document without risking an infringement of data protection legislation. I also
      understand that to do so may also increase the risk of detection. The approach
      taken was therefore to trace the "public" IP address of the local internet
      service provider that accessed the document, rather than the "private" IP
      address of an individual user that sits behind it.

73.   For this reason, I understand that the fact that the IP address was geolocated
      482 metres away from the offices of Company Documents Ltd is not evidence
      of imprecision. It is, instead, the consequence of tracing the public IP address
      which has a broader geolocation than a private IP address. In other words, a
      public IP address contains within it a range of private IP addresses, located in
      the vicinity of each other. In any event, I believe that this evidence supports a
      strong inference that it was Mr Robinson, or somebody else at Company
      Documents Ltd, who accessed the Stokoe Manchester Office Account
      Document.      It is, in particular, very unlikely that another unconnected
      individual in Burgess Hill would have accessed the document.

74.   The Stokoe Manchester Office Account Document was then accessed on two
      further occasions by a third user ("Reader 3"), as shown in the table of the
      Quaestio Report at [HT2/60]. This occurred at 13 :06 and 13 :22 on 9 April



                                             18
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 19 of 37



      2020, on each occasion using (public) IP address 81.92.206. According to
      subsequent research by Quaestio, this IP address is owned by a business
      hosting company: M24 7 Ltd. I refer the Court in this respect to the Quaestio
      Report at [HT2/61].

75.   According to research by Quaestio, the IP address of Reader 3 was geolocated
      to an address at 2 Adelaide Street, Charing Cross, London WC2N 4HZ. This
      is within 800 metres of the UK offices of Page Corporate Investigations, a
      company connected to Mr Stuart Page based at 5-8 The Sanctuary,
      Westminster London SWIP 3JS. I accept, of course, that that this is a busy
      area of Central London and that many companies have offices based in and
      around that area. I refer the Court in this respect to the Quaestio Report at
      [HT2/61-63].

(7)   IP Address Tracing #2: further banking information

76.   On 9 April 2020, Mr Robinson sent a request to Source A2 by the Threema
      platform that the Claimant's main banking account should be accessed. The
      request asked for transactional data for the business bank account for the last
      three months. I understand that Source A2 then called the Third Defendant to
      relay this request.

77.   This request provided a second opportunity for a tracing exercise. In this
      instance, Quaestio transcribed the transactional data from the Claimant's
      London office bank account. I understand that Quaestio took steps to protect
      sensitive information by anonymising certain information recorded on the
      document, for example referring to certain barristers chambers simply as
      "Chambers". The result was to produce a second tracing document, which I
      will refer to as the "Stokoe London Office Account Document".             This
      document is also included in the confidential exhibit with certain redactions
      [HT2/4]

78.   I note here that the Stokoe London Office Account Document included a
      reference to another of the Claimant's bank accounts. This further account is
      the Claimant's client account (the "Client Account"). This reference was left
      in the Stokoe London Office Account Document in case it triggered a further


                                        19
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 20 of 37



      request for information. In the event, as I describe below, that is exactly what
      happened.

79.   Quaestio has informed me that, by an email timed at 17:49 on 17 April 2020,
      the Stokoe London Office Account Document was sent from the Fairy Dust
      Account to the Hush Mail Account.          I refer the Court in particular to the
      Quaestio Report at [HT2/64]. However, on this occasion Quaestio was unable
      to trace the IP addresses used to access this document.           It is apparent,
      however, from a later request made using the Hush Mail Account that Mr
      Robinson did receive the information contained in the Stakoe London Office
      Account Document.

80.   I am also informed that, on 21 April 2020, an email was sent from the Hush
      Mail Account to the Fairy Dust Account with the subject line "UAE - Ins and
      outs". In that email my name, its variants, and my date of birth were provided.
      The accompanying instruction was that: "[w]e want to know the movements in
      and out of Dubai - for Feb 2020". This instruction appears at the Quaestio
      Report at [HT2/65] As I explain at Section E(l) below, in February 2020 I
      visited Dubai for the purposes of the Al Sadeq Litigation. I believe that I was
      the subject of surveillance during this trip.

81.   Quaestio inform me that, on 22 April 2020, Mr Robinson requested further
      information from Source A2 via Threema, which was relayed to the Third
      Defendant. In particular, Mr Robinson asked for information relating to the
      Client Account given that the information he sought was not contained in the
      Stakoe London Office Account Document.

82.   The Stakoe London Office Account Document contained significant
      transactions being paid into that account from the Client Account. It is my
      beiief, therefore, that the request for information about that account once again
      supports the inference that    the   purpose of these enquiries   was   to identify
      information about the Al Sadeq Litigation and the funding of that litigation.

83.   Quaestio also inform me that, by the same request, Mr Robinson asked for
      transactional information for the Client Account for the month of March 2020.
      He indicated that, subject to those findings, he was also likely to want


                                           20
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 21 of 37



      information for the period between November 2019 to February 2020. This
      period coincides almost exactly with the first few months of the Claimant's
      instructions in the Al Sadeq Litigation.

84.   Quaestio tell me that, in response to this request, the Third Defendant
      informed Source A2 that it was not possible to obtain this information as the
      Claimant now had heightened security.          This response was given on
      Quaestio's instructions, as it was felt that the tracing exercise had yielded
      sufficient information to identify the First Defendant as one of the individuals
      who had accessed confidential information. It was also done in an attempt to
      stop further requests to access the Claimant's confidential information.

85.   I am also informed by Quaestio that, on 23 April 2020, Mr Robinson asked
      Source A2 certain questions about an entry in the Stokoe London Office
      Account Document using the letters "SFB". I am told by Quaestio that these
      questions were asked on a Threema call. For the Court's information, I can
      clarify that "SFB" refers to "Speciality Flat Breads Ltd", a company which
      manufactures pitta breads and other food products and of which I am a
      shareholder and director.    I am informed that the Third Defendant asked
      Source A2 whether this entry had been abbreviated or shortened. I believe that
      these questions support an inference that Mr Robinson has read the Stakoe
      London Office Account Document.

(8)   IP Address Tracing #2: Hogan Lovells information

86.   Hogan Lovells is an international firm of solicitors. Hogan Lovells are not
      involved in any way involved in the Al Sadeq Litigation.            However, I
      understand from speaking with Maltin PR and from reading articles in the
      legal press that Hogan Lovells has acted for a company called Eurasian
      Natural   Resources   Corporation ("ENRC")        in High Court litigation
      [HTl/237]. I also understand that ENRC has commenced claims against Mr
      Neil Gerrard who is a defendant in the Al Sadeq litigation. Mr Gerrard has
      also brought separate proceedings against ENRC in which he alleges, among
      other things, that ENRC placed him under surveillance.




                                         21
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 22 of 37



87.   Quaestio have informed me that, on 11 March 2020, Mr Robinson asked
      Source A2 to identify transactional information from the Maltin PR bank
      account relating to transactions involving Hogan Lovells. This request was in
      tum communicated to the Third Defendant.

88.   I also understand that, on 6 April 2020, Source A2 instructed the Third
      Defendant via Threema to investigate Hogan Lovells and 'pull' three months
      of corporate banking transactions. I refer the Court, in this respect, to the
      Quaestio Report at [HT2/68].          I understand, however, that the Third
      Defendant did not in fact carry out these instructions.

89.   I am also informed that, on 23 April 2020, the Third Defendant prepared a
      report for Mr Robinson which stated that it was not possible to obtain
      information concerning transactions involving Hogan Lovells (the "Hogan
      Lovells Report Document") [HT2/69]. This document was prepared in
      conjunction with Quaestio's cyber security experts so as to contain a tracing
      device. It was sent from the Fairy Dust Account to the Hush Mail Account by
      an email dated 23 April 2020 and timed at 17:50. I refer the Court, in this
      respect, to the Quaestio Report [HT2/69].

90.   Quaestio then conducted a further tracing exercise using the Hogan Lovells
      Report Document. This exercise yielded the information set out in the table in
      the Quaestio Report at [HT2/70].         In outline, the Hogan Lovells Report
      Document was accessed by one user on 24 April 2020 at 17:40 using the IP
      address 5.81.45.198. The same reader accessed the document again on 24
      April 2020 at 18:07 using the same IP address.

91.   The geolocation of the IP address that accessed the Hogan Lovells Report
      Document was also identified. The result is shown in the geolocation table in
      the Quaestio Report at [HT2i71]. It indicates that IP address 5.8i.45.198 was
      located at Ansty, Haywards Heath, West Sussex, with post code RHl 7.
      According to research by Quaestio, this geolocation is approximately 1,500
      metres away from the residential address of Mr Robinson in a rural area in
      West Sussex: 6 Belvedere Walk, Haywards Heath, RH16 4TD. Once again,
      this is a reference to the public IP address of the local internet service provider



                                          22
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 23 of 37



      and not the private IP address of the individual computer used to access the
      document. I refer the Court to the Quaestio Report at [HT2/72].

92.   Taking all the above matters together, the Claimant believes that from October
      2019 to at least April 2020 the First and Second Defendants have made several
      requests to obtain confidential information from the Claimant and (through
      Source A2) have given the Third Defendant instructions to obtain that
      information.      The confidential information sought includes banking
      information relating to the Claimant and other persons as described above and
      in the Quaestio report.     There is, in my view, a strong inference that the
      Defendants have sought to obtain unauthorised confidential information
      relating to the Al Sadeq Litigation.


E.    SURVEILLANCE IN THE        UAE

93.   The First and/or Second Defendants' attempts to obtain confidential
      information from the Claimant have been made against the background of
      other suspicious activities that the Claimant has encountered in pursing the Al
      Sadeq Litigation. In particular, for the reasons outlined below, I believe that
      both I and my colleagues have been the subject of surveillance in the UAE as
      a result of our having conduct of that litigation.

94.   For the avoidance of doubt, the Claimant does not allege that the Defendants
      are involved in these suspected surveillance activities. There are, however,
      certain points of context of which the Court should be aware when considering
      the present applications.

(1)   Dubai Trip, 18-24 February 2020

95.   On 18 February 2020, I travelled to Dubai with Mr Arthur Maltin who is an
      Associate Director of Maltin PR, a legal public relations and litigation support
      firm. Maltin PR is engaged to provide litigation support services in relation to
      the Al Sadeq Litigation.

96.   On one of the days I was staying at the One & Only Hotel between 18 and 22
      February, I returned to my hotel room at the One & Only Hotel, The Palm,
      Dubai at around 4:00pm and found that the balcony door was open. This was


                                          23
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 24 of 37



       unexpected, as I had not left the door open when leaving my room in the
       morning. Nor had it been left open on previous days. I therefore became
       suspicious that somebody may have entered my room.

97.    In response to this event, I questioned the hotel cleaner forcefully about
       whether he had left the balcony door open. He was very clear that he had not
       done so. I therefore immediately went to the reception manager and asked
       whether I could review the CCTV footage. I was told that I could not, but that
       the reception manager would do so.        In the event, I was informed by the
       reception manager that he had reviewed the footage personally but that he did
       not believe that there were any security issues. As I explain below, however,
       this was not the only security incident I have experienced at this hotel.

98.    Since then, both Dr Al-Haddad and Stakoe have written to the hotel on several
       occasions asking to review the CCTV footage [HTl/245]. No response has
       been received.

(2)    Dubai Trip, 1-8 March 2020: Surveillance

99.    On 1 March 2020, I travelled again to Dubai and stayed at the same hotel. This
       time, I was accompanied by Mr Arthur Mahin, Mr Alastair Tomson, a
       barrister instructed in the Al Sadeq Litigation, and Mr Joseph Thomas, a
       paralegal at Stakoe. I became concerned at an early stage of this trip that we
       had been placed under surveillance. In particular, as from shortly after our
       arrival on 1 March 2020 there appeared to be a constant presence of
       surveillance operatives sitting in the lobby of the hotel.

100.   Each day a team of at least two and sometimes four or six men were seated in
       the lobby and the bar and lounge area. The men were Arabic in appearance,
       wore casual clothes and always sat in the same positions. In particular, in the
       lobby of the hotel there is a fountain in the middle of the atrium with two
       tables. One man would always sit at a table opposite where I tended to sit
       whilst working early in the morning.         I exhibit a photo of the men at
       [HTl/249]. There would also be another man, or two men sitting together, at
       a table in the bar area. They would simply sit there all day, not interacting with
       the staff or anyone else.



                                           24
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 25 of 37



101.   It is absolutely clear to me that these men were there to observe us and, very
       likely, to intimidate us. They made no effort to conceal their presence. As I
       explain further below, I was later told by a member of the hotel staff that we
       were indeed under surveillance.

102.   On the evening of 6 March 2020, we had dinner on the upper terrace of the
       hotel. The terrace was quiet, there might have been one or two other people
       sitting there but no more than that.

103.   In the course of the evening, a man walked onto the upper terrace
       accompanied by two women. I did not see the man enter the terrace, although
       I understand that Mr Maltin did, and that he saw them walk out of the bar,
       across the upper terrace, down onto the lower terrace, and then back up to the
       upper terrace to sit about two tables away from us. After the man had passed
       us and sat down at his table, Mr Maltin told me that he believed it was Stuart
       Page. We were all shocked by this.

104.   At the time of this incident, I was aware that Mr Page was a security specialist
       based in Dubai and had been carrying out an investigation for the Ruler of
       RAK. However, I did not personally know what he looked like so would not
       have recognised him if Mr Maltin had not done so.           I understand from
       discussions with Mr Maltin, however, that he was able to recognise Mr Page
       because he had previously seen him being cross-examined in the Azima
       Litigation a few weeks beforehand. I believe that Mr Page may also have
       recognised Mr Maltin.

105.   Mr Page stayed for between 15 to 20 minutes before they got up and left. As
       Mr Page was leaving, and whilst his back was turned to us, we took a
       photograph of him in the hotel which is included in the Quaestio Report at
       [HT2/51]. The time stamp of that photo indicates that it was taken at 22:07 on
       6 March 2020.

106.   I note that the One & Only Hotel, The Palm, is situated in a somewhat out of
       the way location in Dubai [HTl/247]. It would probably take around 30
       minutes to get there from central Dubai, and you would have to pass a number
       of more popular drinking spots along the way. I believe it is most unlikely to


                                              25
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 26 of 37



       be a coincidence that Mr Page happened to come for a drink at the hotel where
       we were staying.

107.   The following morning, I rose early at about 6:00am and went down to the
       lobby to work. While sitting there, a member of staff approached me and
       handed me a menu which had a sheet of paper inside of it, on which someone,
       I assume him, had written in English. I can't remember the exact words, but
       the gist of them was: "You're being followed/watched by security services.
       They are very serious people. Nobody can stand in their way." The member
       of staff told me not to look at the note or say anything and then walked away.

108.   When he came back, the member of staff took the menu and the note back
       from me. He said that he didn't know why he was telling me this, but he felt
       that I needed to know. I got the sense that he had been planning to tell me this,
       rather than that this was something he spontaneously decided to do. I asked
       him to check whether Mr Page was staying at the hotel, and he went away,
       checked, and then said "no". Although I know this member of staffs name, I
       would prefer not to name him as I am concerned that he may face reprisals if
       his conduct becomes known.

109.   Later that morning I decided to wait for the two surveillance operatives in the
       chairs where they normally sat. I therefore moved to their usual location in
       the hotel bar and lounge area and waited for them to arrive. At their normal
       time, they came in, took one look at me sitting in their position, and
       immediately turned around and left.

110.   That same morning of 7 March 2020 I also spoke to Mr Sawyer of Quaestio. I
       asked him to try to obtain a recent photograph of Mr Page so that we could
       compare this to the person we had seen at the hotel. Mr Sawyer provided us
       with the photograph in the Quaestio Report at [HT2i51], from which we were
       able to confirm that the person we had seen the previous evening was indeed
       Mr Page.

111.   Later that day, my team and I were due to meet Mr Al Sadeq's UAE lawyer at
       the hotel.   However, in light of what the night manager had told me, we
       decided to meet Dr Al Haddad at his offices instead. When we were about to


                                          26
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 27 of 37



       go to our meeting, I noticed that the surveillance operatives were sitting
       outside the conference room in the hotel that we had planned to use for our
       meeting. This concerned me, as they may have known that we were planning
       to meet Dr Al-Haddad to discuss the case there.

112.   In the event, we left the hotel and travelled to Dr Al-Haddad's offices at the
       Fairmont Hotel (about a 40 minute drive away). I noticed that there was a
       white car sitting outside. This car followed us the entire way. The car pulled
       up behind us in the courtyard of the Fairmont Hotel and I noticed one man
       follow us into the lobby before heading quickly into a flower shop after seeing
       us. I am informed by Mr Maltin that he saw two other men waiting at the back
       entrance of the hotel with ear pieces, who quickly dispersed when they saw
       him.   Mr Maltin took a photograph of one of them, which I exhibit at
       [HTl/248).

113.   After the meeting, Dr Al-Haddad drove us back to our hotel. On the way
       back, we were followed again by another white car. Two of the surveillance
       operatives were sitting in the reception of the One and Only Hotel. Mr Maltin
       took photographs of them which are exhibited at [HTl/249] . In view of these
       events, I contacted our UK travel agent and changed our flights to return to the
       UK in the early hours of the very next day on 8 March 2020 [HTl/250].


F.     RECEIPT OF PHISHING EMAILS


114.   Since the issue of proceedings in the Al Sadeq Litigation, I, along with others
       involved in the Al Sadeq Litigation, have received numerous emails and text
       messages which appear to be targeted attempts to access personal data. I
       believe that these attempts amount to phishing or spear-phishing; i.e.
       communications which seek to trick the recipient into clicking on a link to a
       website which itself contains malicious software which is downloaded onto
       the recipient's device. Spear-phishing is a more sophisticated form of phishing
       where the communication contains specific information, targeted at the
       recipient, which makes it more likely that the recipient will click on the link.




                                           27
   Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 28 of 37



115.         The Claimant's and Quaestio's investigations into these phishing and spear-
             phishing attempts are at an early stage and I am not currently aware whether
             any of the attempts have been successful.

116.         These attempts are summarised in the Quaestio Report at [HT2/73]. They
             include:

             116.1. Numerous emails sent to me containing various links. The emails do
                    not appear to originate from known or genuine sources.

             116.2. On 16 June at 15 :32, I received an SMS containing a link. Just one
                    minute before I received this SMS, two representatives of Maltin PR
                    received exactly the same link by SMS.

             116.3. I am further informed by the Claimant's outsourced IT specialist
                    company that over the April 2020 bank holiday weekend there was a
                    very high level of suspicious activity on the Claimant's servers.

             116.4. Other professionals (including Radha Stirling and the barristers
                    instructed by Mr Al Sadeq) involved in the Al Sadeq litigation have
                    also been targeted by similarly structured phishing emails.

1 1 '7
..1..L ' .   Again, for the avoidance of doubt, the Claimant does not allege that the
             Defendants have been involved in these phishing attempts. However, as with
             the surveillance, I consider that they are important and relevant points of
             context. I note, in particular, that phishing attempts were also raised in the
             Azima Proceedings (albeit, to be clear, Andrew Lenon QC did not find that
             RAKIA was responsible for the phishing: see e.g. paragraphs 35, 36 and 295
             of the judgment [HTl/114] [HTl/200]).


G.           THE APPLICATIONS


(1)          Interim Injunction and Disclosure Orders

118.         The Claimant's first application is for an interim injunction and ancillary
             disclosure orders. This application is brought against the First and Second
             Defendants.



                                               28
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 29 of 37



(2)    Serious Issue to be Tried

119.   In light of the matters set out above, I believe that there is, at the very least, a
       serious issue to be tried in respect of breach of confidence and unlawful means
       conspiracy.

(a)    Breach of Confidence

120.   Confidentiality. First, I consider that the information which the First and
       Second Defendants: (i) have acquired, (ii) attempted to acquire, and/or (iii) are
       attempting to acquire, is confidential to the Claimant.         In particular, the
       relevant information includes banking co-ordinates for the Claimant and bank
       transaction data for the Claimant.        Those Defendants have also sought
       information as to my movements as a solicitor instructed in the Al Sadeq
       Litigation. None of this information is in the public domain. Nor has it been
       disclosed in the Al Sadeq Litigation.         Neither of the First or Second,
       Defendants, nor any persons connected to the defendants in the Al Sadeq
       Litigation, have any legal right or entitlement to this information. It is of its
       very nature private and confidential information.

121.   Acquired in Confidence. Secondly, the Claimant believes that the First and
       Second Defendants have acquired, or have attempted to acquire, this
       information in circumstances that import an equitable duty of confidence. In
       particular, the evidence indicates that: (i) the First and Second Defendants
       have made improper and surreptitious investigations to obtain confidential
       information without the Claimant's knowledge or consent; and (ii) there are no
       obvious legitimate means by which the Defendants could have obtained the
       information requested without the consent of the Claimant.

122.   I also believe that each of the First and Second Defendants separately owned
       obligations of confidence as third parties with knowledge, or notice, that the
       information they had received had been supplied in breach of duties of
       confidence owed to the Claimant. There was, in particular, no reasonable
       basis for the First or Second Defendants to think that the Claimant had
       authorised the disclosure of the confidential information to them.




                                           29
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 30 of 37



123.   Unauthorised use.     Thirdly, it is the Claimant's position that it did not
       authorise the First and Second Defendants to disclose the confidential
       information. It would appear, however, from the IP tracing evidence that the
       information has indeed been sent to several recipients, all some of whom have
       not yet been identified. None of these recipients have been authorised by the
       Claimant.

124.   It may be suggested by the First and Second Defendants that the Claimant
       expressly or implicitly authorised their receipt of confidential information.
       Such a suggestion would be wrong. The confidential information came to the
       knowledge of the First, and Second Defendants in circumstances where they
       had notice that the information was confidential to the Claimant. The Claimant
       has a reasonable expectation of confidentiality in its banking records. To the
       extent that the Claimant voluntarily passed confidential inforII1ati_p11 to the
       Third Defendant, it did so on the basis that it was confidential and at no point
       did the Claimant authorise its use by the First or Second Defendants. Nor did
       the Claimant authorise the First or Second Defendants to send the confidential
       information on to other persons, whether known or unknown. The Defendants
       have no legal entitlement to use or pass on the Claimant's confidential
       information to any other person.        By doing so, the First and Second
       Defendants acted in breach of confidence.

125.   In any event, in view of the circumstances of this case the I consider that there
       is, at the very least, a strong basis to infer from the First and Second
       Defendants' conduct that they have threatened to misuse the Claimant's
       confidential information by passing it on to one or more other persons.

126.   The Claimant believes that it has a clear interest in maintaining the
       confidentiality-of their financial information. The Claimant is also concerned
       that the First and/or Second Defendants may seek to use the information as a
       springboard for further investigations into the Claimant's affairs; whether
       through the intermediary of Source A2 or otherwise




                                          30
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 31 of 37



(b)    Unlawful means conspiracy

127.   As to unlawful means conspiracy, the Claimant accepts that at this stage it
       does not have all of the pieces of the jigsaw. That is one of the reasons that
       disclosure orders are sought. However, it appears that there was a common
       design as between at least some of the Defendants to obtain the Claimant's
       confidential information. Such a plan would inevitably damage the interests of
       the Claimant which has a reasonable expectation of confidentiality in its
       financial records. Given that there is no apparent lawful route to obtain the
       Claimant's confidential banking records without consent, it reasonable to infer
       that the use of unlawful means was part of the common design. The First and
       Second Defendants must have known that they could not lawfully have
       accessed the confidential information which they sought (or at the very least
       turned a blind eye).

(3)    Ouia Timet relief

128.   Further and in any event, there appears to have been a concerted attempt by
       the First and/or Second Defendants to obtain the Claimant's confidential
       information. The full extent of those Defendants' wrongful conduct remains
       obscure I therefore believe that quia timet relief would be appropriate. For the
       reasons I have set out above, I consider that there are good grounds to infer
       that further attempts may be made by the First and/or Second Defendants, or
       those directing them: (i) to access the Claimant's confidential information;
       and/or (ii) to make further use of the information already obtained.           In
       addition, pending the provision of the relief sought in the terms of the
       Claimant's draft Order, the Claimant is not yet in a position to know whether
       further (successful or unsuccessful) attempts to access their confidential
       information have already been made by the Defendants or those instructing
       them.

129.   In particular, I note that the Third Defendant was not successful in obtaining
       all the information that he, or those instructing him, were apparently seeking.
       There are, accordingly, grounds to infer that further or other attempts to access
       the Claimant's confidential information have already been made or may be
       made in the future; whether through the agency of the Third Defendant and/or


                                          31
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 32 of 37



       Source A2 or otherwise. It is, in this respect, pure chance that due to the Third
       Defendant's prior instruction by Quaestio on behalf of Stakoe he has come
       forward as a whistle-blower.

(4)    Norwich Pharmacal relief

130.   The Claimant's second application is for disclosure orders pursuant to the
       Court's Norwich Pharmacal jurisdiction. This application is made against all
       of the Defendants.

131.   As I have explained above, the Third Defendant has come forward as a
       'whistle-blower' and has given information to the Claimant. However, the
       Claimant does not presently lrnow whether that information is full and
       complete as to the circumstances as to the Third Defendant's involvement in
       the relevant events. The Third Defendant should provide this evidence on
       oath; but has so far declined to do so. The Claimant therefore includes the
       Third Defendant within the Norwich Pharmacal application, even though it
       does not apply for an interim injunction against the Third Defendant.

132.   Separately, as regards the First and Second Defendants, even if, contrary to the
       Claimani' s position, there were no serious issue to be tried against these
       Defendants for breach of confidence, the Claimant is entitled to and applies
       for disclosure orders against all of the Defendants pursuant to the Norwich
       Pharmacal jurisdiction.

133.   In particular, the evidence I have set out suggests that each of the Defendants
       are, at the very least, caught up in attempts made by others (i.e. those
       instructing them) to gain access to confidential information belonging to
       Stakoe and others. I believe that, in those circumstances, Norwich Pharmacal
       relief would be appropriate to enable the Claimant to identify the real
       wrongdoers and seek appropriate relief against them. I understand that these
       matters are to be elaborated upon further in legal submissions.

(5)    Damages would be an Inadequate Remedy

134.   In the present case, I do not believe that damages would be an adequate
       remedy for the Claimant. This is so for two reasons.



                                          32
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 33 of 37



 135.   The first reason is that the confidential information that has already been
        obtained from the Claimant is sensitive in nature. It includes the banking
        information of a firm of solicitors. It is not, at present, known by the Claimant
        which persons have access to this information or what their intended use of the
        information might be. In any event, however, the Claimant has a legitimate
        interest in ensuring that their banking coordinates and transactional
        information is not disseminated widely to unknown persons by any of the
        Defendants.

136.    The second reason is that, at present, the Claimant does not know the full
        extent to which the Defendants and/or their ultimate clients have taken steps to
        obtain confidential information from the Claimant (successfully or otherwise).
        Likewise, the Claimant is concerned that, in light of the sophisticated attempts
        to obtain information so far, further attempts may be made to obtain
        confidential information. It is, for this reason, that quia timet relief is sought.
        In these circumstances, an award of damages against the known Defendants
        would not be an adequate remedy given it can only relate to the breaches of
        confidence known to have occurred. On the contrary, one of the purposes for
        bringing the present application is to obtain the ancillary disclosure orders to
        uncover the full extent to which attempts have been made to access
        confidential information from the Claimant.

(6)     Balance of Convenience

13 7.   In all the circumstance set out above, the Claimant believes that the balance of
        convenience favours the granting of an interim injunction. The Claimant has a
        legitimate interest in recovering any and all confidential information that has
        been surreptitiously obtained by the Defendants and to prohibit future attempts
        by the Defendants or their ultimate clients to obtain additional information or
        otherwise seek to disrupt the Al Sadeq Litigation. If further or other breaches
        of confidentiality were to occur, the Claimant fears that this may adversely
        impact their representation of Mr Al Sadeq in the Al Sadeq Litigation.

138.    By contrast, the Claimant sees no material hardship on the Defendants if the
        Court were to order them to cease taking steps to obtain confidential
        information from the Claimant without consent. There is, in particular, no


                                            33
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 34 of 37



       obvious or compelling reason why the Defendants should be entitled to
       receive or retain the confidential information that has been requested by Mr
       Robinson.

(7)    Cross-Undertaking in Damages

139.   I understand that a party applying for an interim injunction will be required by
       the Court to give a cross-undertaking in damage. In this respect, I confirm on
       behalf of the Claimant that it is willing to give such a cross-undertaking in
       damages in the usual terms.


H.     FULL & FRANK DISCLOSURE


140.   The Claimant is bringing the present applications 'on notice' to the
       Defendants, such that the duty to provide full and frank disclosure does not
       arise. Out of an abundance of caution, however, I wish to bring the following
       matters to the Court's attention in case an argument is made at a later date that
       the applications should have been treated as being made 'without notice'.

141.   First, the First and Second Defendants may contend that they have been
       \Vrongly identified as having taken steps to obtain the Claimant's confidential
       information, or that the IP address tracing exercise has produced an incorrect
       result. In this respect, I have set out above the evidence in support of my
       belief that each of the Defendants is implicated in the attempts to obtain the
       Claimant's confidential information. In particular, there is evidence to suggest
       that confidential documents have been viewed at locations very close to the
       First Defendant's residential address and the Second Defendant's office
       address.    Further, I am told by Mr Sawyer of Quaestio that the Third
       Defendant informed Mr Sawyer that Source A2 had been instructed by Mr
       Robinson. Whilst I accept that I must rely, in part, on the hearsay account of
       the Third Defendant, it is my belief that overall there is sufficient evidence
       from which this Court may conclude that the Claimant is entitled to the
       interim relief sought.

142.   Secondly, the Defendants may contend that some or all of the requirements of
       the Claimant's cause of action for breach of confidence have not been



                                          34
  Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 35 of 37



        satisfied. These points are considered at paragraphs 120 to 126 above. For the
        purposes of this application, I believe that there is a serious issue to be tried on
       the merits of the Claimant's claims. In the alternative, I believe that there is at
       the very least sufficient material from which this Court may conclude that the
       Defendants are "caught up" in wrongdoing and should be ordered to respond
       to a Norwich Pharmaca/ order.

143.   Thirdly, the Defendants may contend either that they were not aware that the
       information was confidential, or that they believed that the Claimant was
       willing to provide it through the Third Defendant. If so, however, I would
       respond that:

       143.1. the surreptitious circumstances in which the information was obtained
               are not consistent with a genuine belief that the information was not
               confidential;

       143.2. those circumstances appear to include attempts by the Defendants to
               access other confidential information from other persons;

       143.3. the Claimant has not consented to the dissemination of any of its
               confidential information by the First or Second Defendants; and

       143.4. the nature of the information, i.e. the bank records of a solicitors firm,
               plainly put the Defendants on notice as to a reasonable expectation of
               confidentiality.

144.   The Third Defendant is a respondent to the Norwich Pharmaca/ application
       only. It is brought on the basis that the full extent of his involvement has not
       yet been ascertained and he has not agreed to provide evidence on oath. In
       any event, I believe that the Third Defendant is "caught up" in the wrongdoing
       of the other Defendants for the purposes of a Norwich Pharmaca/ order.

145.   Fourthly, it is possible that the First and/or Second Defendants may argue that
       the Claimant's evidence-gathering amounts to entrapment such that the
       present application should not succeed. The Claimant considers, however,
       that any such suggestion would be misconceived, since: (i) the Claimant is not



                                           35
 Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 36 of 37



       an agent of the state; (ii) the attempts to trace the identities of the First and
       Second Defendants were responsive to their own wrongdoing and did not
       involve gross misconduct or commercial lawlessness on the Claimant's part;
       and (iii) the Claimant has not induced any of the Defendants to commit a
       criminal act.

146.   Fifthly, it might be suggested that the Claimant has delayed in bringing this
       application. If so, however, such a suggestion would be unfounded. The
       Claimant has worked expeditiously in response to the findings of Quaestio's
       investigations and has brought the present applications as soon as reasonably
       practicable. The full details and implications of Quaestio's investigations
       have only become apparent shortly before the applications were made.

147.   Finally, and conversely, the Defendants might suggest that the Claimant ought
       to have given them additionai notice that the applications wouid be brought.
       In this respect: (i) the Claimant intends to serve the applications and evidence
       in support by hand at least three clear days before the hearing in accordance
       with rules for injunctions at CPR PD 25A para. 2.2; and (ii) the Claimant
       intends to request undertakings from the Defendants at the time of service in
       an attempt to avoid the need for a hearing. The Ciaimant considers that, given
       the risk that the Defendants or those instructing them might make further or
       other attempts to access its confidential information, it is not appropriate for
       any longer period of notice to be given before interim injunctive relief is
       sought. Given that the Norwich Pharmacal relief overlaps materially, the
       Claimant considers the appropriate notice period to be the same as in relation
       to the injunctive relief.


I.     RELIEF SOUGHT


(1)    Interim Injunction

148.   In the circumstances set out above, the Claimant invites the Court to grant an
       interim injunction: (i) to restrain the First and Second Defendants from taking
       any further steps to access the Claimant's confidential information without
       consent; and (ii) to require the Defendants to return any and all confidential
       information that they have received from the Ciaimant.


                                          36
      Case 1:20-mc-00275-JPO Document 3-1 Filed 07/31/20 Page 37 of 37

 149.     In addition, the Claimant invites the Court to make ancillary disclosure orders
          to the injunction requiring the First and Second Defendants to identify, in a
          sworn affidavit: (i) the full extent of the confidential information that has been
          obtained in relation to the Claimant and the Al Sadeq Litigation; (ii) the
          identity of any and all persons giving direct or indirect instructions to the
          Defendants to access the Claimant's confidential information; and (iii) any
          and all methods by which they have obtained, or have sought to obtain,
          confidential information in relation to the Claimant and the Al Sadeq
          Litigation.

(2)      Norwich Pharmacal Order

150.     The Claimant also invites the Court to make a Norwich Pharmacal disclosure
         order requiring each of the Defendants to provide full information as to the
         circumstances in which they have been "caught up" in the wrongdoing of
         other persons.

151.     In particular, the Court is invited to order that the Defendants identify, in a
         sworn affidavit: (i) the full extent of the confidential information that has been
         obtained in relation to the Claimant and the Al Sadeq Litigation; (ii) the
         identity of any and all persons giving direct or indirect instructions to the
         Defendants to access the Claimant's confidential information; and (iii) any
         and all methods by which they have obtained, or have sought to obtain,
         confidential information in relation to the Claimant and the Al Sadeq
         Litigation.

152.    The Court is invited to make such orders in the terms of the draft appended to
        the Claim Form and Application Notice.


       STATEME NT OF TRUTH

       I believe that the facts stated in this witness statement are true. I understand that
       proceedings for contempt of court may be brought against anyone who makes, or
       causes to be made, a false statement in a document verified by a statement of truth
       without an honest belief in its truth.


       Signed:

                     HARALAMBOS TSIATTAL OU

       Dated:
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